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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:16-CV-21301-GAYLES

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   vs.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

          Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

          Relief Defendants
   ----------------------------------~/
                                       NOTICE OF FILING

          Michael I. Goldberg, in his capacity as receiver (the "Receiver") of Defendants Jay Peak,

   Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel Suites Phase II L.P., Jay Peak

   Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay Peak Golf

   and Mountain Suites, L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse
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   L.P., Jay Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services

   Stateside, Inc., Jay Peak Biomedical Research Park L.P., AnC Bio Vermont GP Services LLC,

   and Relief Defendants Jay Construction Management, Inc., GSI of Dade County, Inc., North

   East Contract Services, Inc. and Q Burke Mountain Resort LLC, by and through undersigned

   counsel, hereby files the attached complaint filed on May 20, 2016.



   Dated: May 27, 2016                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on May 27, 2016, the foregoing document is being served this day on

   all counsel of record identified on the attached Service List via electronic mail and to all pro se

   parties identified on the attached Service List via U.S. Mail.

                                                      By:/s/ Jeffrey C. Schneider, P.A.
                                                        Jeffrey C. Schneider, P.A.




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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE N O . - - - - - - - -

     MICHAEL I. GOLDBERG, as
     Receiver for Jay Peale, Inc., Q
     Resorts, Inc., Jay Peak Hotel Suites
     L.P., Jay Peak Hotel Suites Phase II
     L.P., Jay Peale Management, Inc.,
     Jay Peak Penthouse Suites L.P., Jay
     Peale GP Services, Inc., Jay Peak Golf
     and Mountain Suites L.P., Jay Peale GP
     Services Golf, Inc., Jay Peak Lodge and
     Townhouses L.P., Jay Peak GP Services
     Lodge, Inc., Jay Peak Hotel Suites
     Stateside L.P., Jay Peak GP Services
     Stateside, Inc., Jay Peak Biomedical
     Research Park L.P ., AnC Bio Vermont
     OP Services, LLC, Q Burke Mountain
     Resort, Hotel and Conference Center, L.P.,
     Q Burke GP, LLC, Jay Construction
     Management, Inc., GSI of Dade County,
     Inc., North East Contract Services, Inc.,
     and Q Burke Mountain Resort, LLC,

                   Plaintiff,

     v.                                                              .JURY DEMAND

     RAYMOND JAMES FINANCIAL, INC.
     d/b/a RAYMOND JAMES, RAYMOND
     JAMES & ASSOCIATES, INC., ARIEL
     QUIROS, and JOEL BURSTEIN

                   Defendants.
     ------------------------------------~/
                                RECEIVER'S COMPLAINT FOR RELIEF

            Plaintiff Michael I. Goldberg (the "Receiver"), as Receiver for Jay Peak, Inc. ("Jay

     Peak"), Q Resorts, Inc. ("Q Resorts"), Jay Peak Hotel Suites L.P. ("Suites Phase I"), Jay Peak

     Hotel Suites Phase II L.P. ("Hotel Phase II"), Jay Peak Management, Inc. ("Jay Peak
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     Management"), Jay Peak Penthouse Suites L.P. ("Penthouse Phase III"), Jay Peak GP Services,

     Inc. ("Jay Peak GP Services"), Jay Peak Golf and Mountain Suites L.P. ("Golf and Mountain

     Phase IV"), Jay Peak GP Services Golf, Inc. ("Jay Peak GP Services Golf'), Jay Peak Lodge and

     Townhouses L.P. ("Lodge and Townhouses Phase V"), Jay Peak GP Services Lodge, Inc. ("Jay

     Peak GP Services Lodge"), Jay Peak Hotel Suites Stateside L.P. ("Stateside Phase IV"), Jay Peak

     GP Services Stateside, Inc. ("Jay Peak GP Services Stateside"), Jay Peak Biomedical Research

     Park L.P. ("Biomedical Phase VII"), AnC Bio Vermont GP Services, LLC ("AnC Bio Vermont

     GP Services"), Q Burke Mountain Resort, Hotel and Conference Center, L.P. ("Q Burke

     Mountain Resort"), Q Burke Mountain Resort GP Services, LLC ("Q Burke GP Services"), and

     Jay Construction Management, Inc. ("JCM"), GSI of Dade County, Inc. ("GSI"), North East

     Contract Services, Inc. ("Northeast"), and Q Burke Mountain Resort, LLC ("Q Burke")

     (collectively, the "Receivership Entities"), sues Raymond James Financial, Inc. d/b/a Raymond

     James and Raymond James & Associates, Inc. (collectively, "Raymond James"), Ariel Quiros

     ("Quiros"), and Joel Burstein ("Burstein"), and states:
                                    I




                                            INTRODUCTION

            1.      The Receiver brings this actionl in his capacity as Receiver for the Receivership

     Entities to recover amounts stolen from the Receivership Entities and misused by Quiros, owner


             Plaintiff is mindful that Raymond James and the Jay Peak Limited Partnerships entered
     into Client Agreements pursuant to which certain disputes were to be resolved through
     arbitration. However, to the extent that provision applies to the Receiver's claims, Raymond
     James may desire to waive any attempt to enforce it, as Raymond James already is facing a
     lawsuit in this Court brought by the investors, Daccache v. Raymond James et al., No. 1:16-cv-
     21575-FAM (S.D. Fla.), and it would be more efficient to consolidate discovery in this case with
     the investors' case than to defend two proceedings in two fora. Moreover, Quiros is not a party
     to the Client Agreements, so the Receiver's claims against him cannot be compelled to
     arbitration. Finally, any arbitration award is going to have to be confirmed in this Court
     regardless. As a result, keeping this case before this Court affords obvious efficiencies to
     Raymond James. If, however, Raymond James does not wish to waive arbitration, then the
     Receiver will file a motion to stay and file an arbitration.


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     of Q Resorts, and William Stenger ("Stenger"), president and CEO of Jay Peale, a Vermont sld

     resort owned by Q Resorts.       Raymond James assisted Quiros and Stenger in stealing and

     misusing funds of various Receivership Entities by actively enabling Quiros and Stenger's

     intricate web of transfers and margin loans to defraud many of the Receivership Entities.

     Thrqugh their fraudulent scheme and with the aid of Raymond James, Quiros and Stenger have

     misused over $200 million and systematically looted over $50 million of the more than $350

     million that has been raised from hundreds of investors through the U.S. Citizenship and

     Immigration Services' EB-5 Immigrant Investor Program.

            2.      Quiros and Stenger, through Q Resorts and Jay Peak, attracted foreign investors

     hoping to earn permanent residence in the United States through investing in U.S. projects that

     create a certain number of jobs. Quiros and Stenger structured these ostensible investments as

     limited partnerships, whereby each limited partnership would use its investors' funds for specific

     purposes and under certain restrictions. The fraudulent scheme took the form of seven limited

     partnership securities offerings: Suites Phase I, Hotel Phase II, Penthouse Phase III, Golf and

     Mountain Phase IV, Lodge and Townhouses Phase V, Stateside Phase IV, Biomedical Phase VII,

     and Q Burke (collectively, the "Jay Peale Limited Partnerships"). These investments were not

     publicly traded.

            3.      Investors who invested in these limited partnerships thought they were investing

     their funds in hotels, cottages, a biomedical research facility and other projects. In reality, while

     some of the funds were used for the projects, the majority of the funds were commingled,

     misused, and diverted to pay for other projects and to cover Quiros' personal expenses. The Jay

     Peak Limited Partnerships' money was also improperly converted into collateral for loans to

     Quiros by Raymond James. Raymond James enabled Quiros and Stenger's attempts to disguise




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     the fact that most of the seven projects were either over budget or experiencing shortfalls. In

     doing so, Raymond James profited from the fraudulent scheme.

            4.      Since 2008, Quiros has misappropriated more than $50 million in investor money

     to, among other things: (1) finance his purchase of the Jay Peak resort, (2) back a personal line of

     credit to pay his income taxes, (3) purchase a luxury condominium, (4) pay taxes of a company

     he owns, and (5) buy an unrelated resort. Quiros also improperly used additional investor funds

     to pay down and pay off margin loans (including paying nearly $2.5 million in margin interest)

     that he set up in the name of the Jay Peak Limited Partnerships at Raymond James.

             5.     The Jay Peak Limited Partnerships' funds were held in accounts at Raymond

     James, which were managed by Quiros' then son-in-law, Joel Burstein. As the broker for the

     accounts holding Jay Peak Limited Partnership funds, Raymond James provided margin loans to

     Quiros which were collateralized with assets belonging to the Jay Peak Limited Partnerships.

            6.      Raymond James and Burstein: (1) lmew that the funds in the Raymond James

     accounts belonged to investors; (2) knew that the Jay Peak General Partners owed fiduciary

     duties to the investors in the Jay Peak Limited Partnerships; and (3) together with Quiros and

     Stenger, aided and abetted the breach of fiduciary duty by margining investors' assets, helping

     Quiros steal the investors' funds for his own use, and commingling investors' funds in breach of

     the partnership agreements. The Receiver seeks to recover the Jay Peak Limited Partnerships'

     losses through this action.

            7.      On April 12, 2016, the SEC filed its Complaint for Injunctive and Other Relief

     against Quiros, Stenger, and the Receivership Entities, charging the defendants there with

     violations of numerous provisions of federal securities laws. The case is currently pending in

     this District before the Honorable Darrin P. Gayles and styled SEC v. Quiros, Stenger, Jay Peak,




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     Inc., et al., No. 16-21301-CV-DPG (S.D. Fla.) (the "SEC Case"). Also on April 12, 2016, the

     SEC filed, and Judge Gayles granted, an Emergency Motion for Temporary Restraining Order,

     Asset Freeze, and Other Relief.

            8.      On April 13, 2016, Judge Gayles entered an order in the SEC Case appointing

     Michael I. Goldberg as Receiver over the Receivership Entities, their subsidiaries, successors

     and assigns (the "Receivership Order"). The Receivership Order authorizes the Receiver to: (i)

     take immediate possession of all property, assets and estates of every kind of the Receivership

     Entities, (ii) investigate the manner in which the affairs of the Receivership Entities were

     conducted; and (iii) institute legal actions for the benefit and on behalf of the Receivership

     Entities and their investors as deemed necessary by the Receiver to collect funds or assets that

     were wrongfully misappropriated or transferred from the Receivership Entities or otherwise

     traceable to the funds raised from investors in the Receivership Entities, including, but not

     limited to, seeking imposition of constructive trusts, disgorgement of profits, recovery, and/or

     avoidance of fraudulent transfer under Florida Statute 726.101 et seq.

            9.      Further, investors harmed by the fraudulent scheme recently filed a class action

     complaint in this District before the Honorable Federico A. Moreno, Daccache v. Raymond

     James etal., No. 1:16-cv-21575-FAM (S.D. Fla.).

                             PARTIES AND RELEVANT NONP ARTIES

        A. Plaintiff

            10.     The Receiver is a natural person over the age of 21 and otherwise sui juris. The

     Receiver represents the interests of the Receivership Entities, who have been damaged as a result

     of the Defendants' conduct alleged herein.

         B. Defendants




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             11.       Raymond James Financial, Inc. d/b/a Raymond James, is a corporation organized

      and existing under the laws of the state of Florida. Raymond James is a diversified financial

      services holding company with subsidiaries engaged primarily in investment and financial

     planning, in addition to investment banldng and asset management. Its stock is traded on the

     New York Stock Exchange.

              12.      Raymond James & Associates, Inc. (together with Raymond James Financial,

      Inc., "Raymond James") is a corporation organized and existing under the laws of the state of

      Florida.

                 13.   Quiros is a citizen and resident of the State of Florida. He is a natural person over

      the age of 21 and otherwise sui juris. In addition to being the sole owner, officer and director of

      Q Resorts, he is chairman of Jay Peale. Through those two companies, Quiros controlled each of

      the Jay Peak General Partners and Limited Partnerships. He is a principal of the general partner

      of the Jay Peak Biomedical limited partnership offering, which is the seventh and most recent

      project offering.

                 14.   Burstein is a citizen of the State of Florida. He is a natural person over the age of

      21 and otherwise sui juris. Burstein is Quiros's former son-in law and the Miami Branch

      Manager and Vice President of Investments for the Raymond James South Florida Complex. He

      manages three Raymond James locations: Miami, Miami Beach and Dadeland,

          C. Relevant Nonparties

                 15,   Stenger is a resident of the state of Vermont. He is a natural person over the age

      of 21 and otherwise sui juris. Stenger is the Director, President, and CEO of Jay Peale. He is the

      president and director of the general partner of the first Jay Peak project offering, and is the sole

      officer or director of the general partner of the second through sixth offerings. All six offerings




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      were set up as limited partnerships. Stenger is, along with Quiros, a principal in the seventh

      offering's (Jay Peak Biomedical) general partner.

             16.     Jay Peale is a Vermont corporation with its principal place of business in Jay,

      Vermont. Jay Peak operates the Jay Peak Resort in Jay, Vermont, which encompasses the first

      six projects for which Quiros and Stenger raised money. Jay Peale, in conjunction with others,

      has served as the manager or developer of the projects.

             17.     Q Resorts is a Delaware corporation with its offices in Miami, Florida. Q Resorts

      is the 100% owner of Jay Peak, and Quiros is the sole owner, officer and director of Q Resorts.

      Q Resorts acquired Jay Peak from a Canadian firm in 2008, and Quiros has since overseen the

      various Jay Peak projects through Q Resorts.

             18.     Suites Phase I is a Vermont limited partnership with its principal place of business

      in Jay, Vermont. Between December 2006 and May 2008, Suites Phase I raised $17.5 million

      from 35 investors through an EB-5 offering of limited partnership interests to build a hotel.

             19.     Hotel Phase II is a Vermont limited partnership with its principal place of

      business in Jay, Vermont. Between March 2008 and January 2011, Hotel Phase II raised $75

      million from 150 investors through an EB-5 offering of limited partnership interests to build a

      hotel, an indoor water park, an ice rink, and a golf club house.

             20.     Jay Peale Management is a Vermont corporation which is the general partner of

      Svites Phase I and Hotel Phase II. It is also a wholly-owned subsidiary of Jay Peale. Stenger is

      the company's president.

             21.     Penthouse Phase III is a Vermont limited partnership with its principal place of

      business in Jay, Vermont. Between July 2010 and October 2012, Penthouse Phase III raised

      $32.5 million from 65 investors through an EB-5 offering of limited partnership interests to build




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      a 55-unit "penthouse suites" hotel and an activities center.

             22.     Jay Peak GP Services is a Vermont corporation and the general partner of

      Penthouse Phase III. Stenger, listed as the director, is its only principal.

             23.      Golf and Mountain Phase IV is a Vermont limited partnership with its principal

      place of business in Jay, Vermont. Between December 2010 and November 2011, Golf and

      Mountain Phase IV raised $45 million from 90 investors through an EB-5 offering of limited

      partnership interests to build "golf cottage" duplexes, a wedding chapel, and other facilities.

              24.     Jay Peak GP Services Golfis a Vermont corporation and the general partner of

      Golf and Mountain Phase IV. Stenger, listed as the director, is its only principal.

              25.     Lodge and Townhouses Phase V is a Vermont limited partnership with its

      principal place of business in Jay, Vermont. Between May 2011 and November 2012, Lodge and

      Townhouses Phase V raised $45 million from 90 investors through an EB-5 offering of limited

      partnership interests to build 30 vacation rental townhouses, 90 vacation rental cottages, a cafe,

      and a parking garage.

              26.     Jay Peak GP Services Lodge is a Vermont corporation and the general partner of

      Lodge and Townhouses Phase V. Stenger, listed as the director, is its only principal.

              27.     Stateside Phase VI is a Vermont limited partnership with its principal place of

      business in Jay, Vermont. Between October 2011 and December 2012, Stateside Phase VI raised

      $67 million from 134 investors through an EB-5 offering of limited partnership interests to build

      an 84-unit hotel, 84 vacation rental cottages, a guest recreation center, and a medical center.

              28.     Jay Peak GP Services Stateside is a Vermont corporation and the general partner

      of Stateside Phase IV. Stenger, listed as the director, is its only principal.

              29.     Biomedical Phase VII is a Vermont limited partnership with its principal place of




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      business in Newport, Vermont. Since November 2012, Biomedical Phase VII has raised

      approximately $83 million from 166 investors through an EB-5 offering of limited partnership

      interests to construct a biomedical research facility. Other than site preparation and

      groundbreaking, no work has been done on the facility.

              30.      AnC Bio Vermont GP Services is a Vermont limited liability company and the

      general partner of Biomedical Phase VII. Its managing members are Quiros and Stenger.

              31.      Q Burke Mountain Resort is a Vermont limited partnership with its principal

      place of business in East Burke, Vermont. As of September 2015, Q Burke Mountain Resort

      raised approximately $53.5 million from investors through an EB-5 offering of limited

      partnership interests to purchase land and develop a hotel and other facilities.

              32.      Q Burke GP Services is a Vermont limited liability company and the general

      partner of Q Burke Mountain Resort. Its managing members are Quiros and Stenger.

              33.      Jay Peak Management, Inc., Jay Peak GP Services, Inc., Jay Peak GP Services

      Golf, Inc., Jay Peak GP Services Lodge, Inc., Jay Peak GP Services Stateside, Inc., and AnC Bio

      Vermont GP Services, LLP are collectively referred to as the "Jay Peak General Partners";

              34.      The Jay Peak Limited Partnerships and their corresponding Jay Peak General

      Partners are listed below:



      "Suites Phase I"
      Jay Peak Hotel Suites L.P.
     1--T=-c:o~bu..::i~ld:!,-a~ho~t~el~.~H~o~te~l~is~~~~~~~~l2.'__ __j Jay Peak Management, Inc.
      "Hotel Phase II"                                              Wholly-owned subsidiary of Jay Peak, Inc.
      Jay Peak Hotel Suites Phase II L.P.                           President: Stenger
      To build a hotel, an indoor water park, an ice rink, and a
      golf clubhouse. Construction is complete and the
      facilities are      ·
      "Penthouse Phase Ill"                                         Jay Peak GP Services, Inc.
      Jay Peak Penthouse Suites L.P.                                Director and only principal: Stenger
      To build a 55-unit           suites hotel and an activities



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      center, including a bar and restaurant.
      Construction is complete and the facilities are operating.
      "Golf and Mountain Phase IV"                                 Jay Peak GP Services Golf, Inc.
      Jay Peak Golf and Mountain Suites L.P.                       Director and only principal: Stenger
      To build golf cottage duplexes, a wedding chapel, and
      other facilities.
      Construction is complete and the facilities are operating.
      "Lodge and Townhouse Phase V"                                Jay Peak GP Services Lodge, Inc.
      Jay Peak Lodge and Townhouses L.P.                           Director and only principal: Stenger
      To build 30 vacation rental townhouses, 90 vacation
      rental cottages, a cafe, and a parking garage.
      Construction is complete and the facilities are operating.
      "Stateside Phase VI"                                         Jay Peak GP Services Stateside, Inc.
      Jay Peak Hotel Suites Stateside L.P.                         Director and only principal: Stenger
      To build an 84-unit hotel, 84 vacation rental cottages, a
      guest recreation center, and a medical center.
      Only hotel has been built. A small amount of work has
      been done on building the cottages and work has not yet
      begun on the recreation and medical centers.
      "Biomedical Phase VII"                                       AnC Bio Vermont GP Services, LLP
      Jay Peak Biomedical Research Park, L.P.                      Managing members: Quiros and Stenger
      To build a biomedical research facility. Other than site
      preparation and groundbrealdng, no work has been done
      on the facility.
      "Q Burke Mountain Resort"                                    Q Burke Mountain Resort GP Services,
      Q Burke Mountain Resort, Hotel and Conference Center,        LLC
      L.P                                                          Managing members: Quiros and Stenger
      To purchase land and develop hotel and facilities.

              35.      Though varying in certain details, the structures of the Jay Peak Limited

      Partnerships were materially the same, and all were used by the Quiros and Stenger in their

      fraudulent scheme.

                                         JURISDICTION AND VENUE

              36.      This action is brought to accomplish the objectives of the Receivership Order.

      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 754, 1692,

      1367, and 18 U.S.C. § 1962.

              37.      This Court has personal jurisdiction over the Raymond James Defendants because

      they are Florida corporations, are doing business in Florida, and have registered with the Florida

      Secretary of State, or do sufficient business in Florida, have sufficient minimum contacts with



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     Florida, or otherwise intentionally avail themselves of the Florida consumer market through the

     promotion of their services. This purposeful availment renders the exercise of jurisdiction by

     this Court over Defendants permissible under traditional notions of fair play and substantial

     justice.

                38.   This Court has personal jurisdiction over Quiros and Burstein because they are

     Florida residents, do sufficient business in Florida, have sufficient minimum contacts with

      Florida, or otherwise intentionally avail themselves of the protections and benefits of Florida

      law. Further, Quiros and Burstein committed tortious acts in Florida that form the basis of this

      action.

                39.   Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because Defendants

      transact business and may be found in this District. Venue is also proper here because at all

      times relevant hereto, the practices complained of herein occurred in the Southern District of

      Florida and the SEC Case is pending in this District.

                40.   All conditions precedent to this action have occurred, been performed, or have

      been waived.

                                       FACTUAL ALLEGATIONS

      The Fraudulent Scheme

                41.   Jay Peak began offering and selling securities in the form of limited partnership

      interests in December 2006. Since that time it has raised over $350 million from hundreds of

      investors in at least 74 countries in seven separate offerings-the Jay Peak Limited Partnerships.

                42.   Foreign applicants invest both to earn a return on their investment and to obtain

      their permanent green cards through the EB-5 Immigrant Investor Program created by Congress

      in 1990. The Program provides prospective immigrants with the opportunity to become




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     permanent residents by investing in the U.S. To qualify for an     EB~5   visa, a foreign applicant

     must invest $500,000 or $1 million (depending on the type of investment) in a commercial

     enterprise approved by the U.S. Citizenship and Immigration Service. Once the applicant has

     invested, he or she may apply for a conditional green card, which is good for two years. If the

     investment creates or preserves at least ten jobs during those two years, the foreign applicant

     may apply to have the conditions removed from his or her green card. The applicant can then

      live and work in the U.S. permanently. An applicant only has to invest $500,000 if he or she

      invests through a Regional Center. As a Regional Center, the State of Vermont has approved Jay

      Peak as an EB-5 project.

             43.      The proponents of Jay Peak and Stenger conveyed the idea that investors would

      purchase real estate and other projects such as hotels, suites, recreational facilities, and a

      biomedical research facility. They sought EB-5 investors and had a pool of people who would

      be willing to invest large amounts of money into their scheme. Stenger and Jay feak gave

      marketing materials to the investors. Each project or group of projects was structured as a

      separate limited partnership, which had its corresponding general partners. See Partnership Chart

      «J 34. The Jay Peak General Partners owed fiduciary duties to their respective Jay Peak Limited

      Partnerships.

             44.      Investors received offering materials from Jay Peak and Stenger stating that the

      monies invested would be used for legitimate purposes, when in reality, the monies were

      misused, commingled, and stolen.

             45.      Stenger told investors that he anticipated the individual projects would each make

      a 2% to 6% annual return once they were complete and operating. The offering materials that

      Jay Peale provided to investors also touted their potential returns. For example, an individual




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     who purchased a limited partnership interest in Penthouse Phase III received information from

      Jay Peak stating that investors would realize a guaranteed 4% minimum return, with a projected

      6% average return.

             46.    Investors in each of the Jay Peak Limited Partnerships generally received from

      Jay Peak, and often from Stenger, offering materials consisting of a private placement

      memorandum, a business plan, and a limited partnership agreement. Among the documents

      included in each business plan is one showing the cost of each project and the use of investor

      funds. The "use of proceeds" document details exactly how Jay Peak and/or the specific Jay

      Peak Limited Partnership intended to spend all investor funds raised, including on land

      acquisition, site preparation, and construction. The document also lists the management

      contribution in each offering and how Jay Peak would spend that money.

             47.    For example, the document outlining the use of proceeds for Penthouse Phase III,

      found under the term "Investor Funds Source and Application" in the business plan given to

      investors, stated Jay Peak would spend almost $28.1 million of the $32.5 million invested on

      construction of the Penthouse Suites hotel. Included in this amomit was approximately $900,000

      for cost overruns and approximately $2.8 million for construction supervision fees.        The

      remaining $4.4 million was for the accompanying recreation and learning centers and a cafe and

      bar (Jay Peale was to contribute another $5 million).        At most Jay Peak could receive

      approximately $3.7 million ofthe $32.5 million for its own use.

             48.    Stenger reviewed, was responsible for, and had authority over the contents of the

      offering documents in Phases I-VI, including the limited partnership agreements and the use of

      proceeds documents. Quiros reviewed the contents of the Phase I-VI offering documents, was

      familiar with them, and understood he had to abide by them. He also approved the use of




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      proceeds document in Phases III-VI. Both Stenger and Quiros, as principals of the general

      partner for Biomedical Phase VII, reviewed and approved the contents of that project's offering

      documents, including the limited partnership agreement and the use of proceeds document.

             49.     Each limited partnership agreement, which all investors either signed or adopted,

      contains several restrictions on Jay Peak's and the general partners' use of investor money.

      Generally, each limited partnership agreement prevents the general partner from, without consent

      of the limited partners: (1) borrowing from or commingling investor funds; (2) acquiring any

      property with investor funds that does not belong to the limited partnership, other than as

      specifically authorized in the agreement; or (3) mortgaging, conveying or encumbering

      partnership property that was not real property.

             50.     Investors made a $500,000 investment each in a particular Jay Peak Limited

      Partnership project. Investors also paid administrative fees, usually $50,000.

             51.     Each Jay Peak Limited Partnership had an escrow account at People's United

      Banlc in Vermont (formerly known as the Chittenden Trust Company). Stenger was a signatory

      on all ofthe People's Ban1c accounts and routinely authorized the transfer of funds into and out

      of those accounts.

             52.     The initial $500,000 investment normally was deposited into the People's Banlc

      account for the specific project in which the investor was participating.        For example, a

      Penthouse Phase III investor's $500,000 investment was deposited into the People's Bank

      account for Penthouse Phase III.

             53.     Once the Immigration Service approved the investor's initial or provisional green

      card, Stenger typically had the $500,000 transferred to a Raymond James account that was set up

      in the name of the particular project through Raymond James' Coral Gables office. Stenger had




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     no signatory or other authority over the Raymond James accounts. Quiros opened all of the

     Raymond James accounts, and had sole authority over them.

             54.     As described in detail below, Quiros and Stenger routinely violated the provisions

      stated above in paragraph 49 when they misused, misappropriated, embezzled, and commingled

      investors' funds from the Jay Peak Limited Partnership projects.             Instead of using the

     partnerships' funds as described in the use of proceeds documents, Quiros and Stenger frequently

      caused Jay Peak Limited Partnership funds to flow in a circular manner among various accounts

      and entities, which allowed them to misuse and misappropriate investor funds.

      Raymond James and Burstein Substantially Assisted Quiros and Stenger's Fraudulent
      Scheme.

             55.     The Raymond James broker listed on the accounts was Joel Burstein, Quiros' son-

      in-law at the time. Burstein began his career at Raymond James in 1999, and obtained several

      broker licenses. To qualify for these licenses, Burstein had to demonstrate that he possessed an

      adequate understanding of the securities industry. In 2013, Burstein became the branch manager

      of the Miami, Dadeland and Miami Beach offices of Raymond James. Burstein is now the

      Miami Branch Manager and Vice President of Investments for the Raymond James South

      Florida Complex.

             56.     Once the Raymond James accounts received transfers from the People's Bank

      accounts, Quiros alone directed use of the funds.

             57.     Quiros and Stenger, with Burstein and Raymond James' help, oversaw and

      directed use of all investor funds and the development and construction of any projects.

      Investors played no role in the development, construction, or operation of the facilities.




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     Raymond James and Burstein Allowed Quiros to Use Limited Partnership Funds to
     Purchase Jay Peak.

             58.       Jay Peak was originally owned by a Canadian firm, Mont Saint-Sauveur

      International, Inc. ("MSSI"), which oversaw the Phase I securities offering. Stenger worked for

      MSSI at the time and oversaw the offering as the principal of Jay Peak Management, the general

      partner of Suites Phase I and Hotel Phase II. Suite Phase I raised $17.5 million from 35 investors

      from December 2008 through May 2008.

             59.       From January through June 2008, Quiros negotiated and finalized a stock transfer

      agreement between MSSI and Q Resorts (Quiros' own company), in which MSSI agreed to

      transfer the real estate and other assets of Jay Peak to Q Resorts. The agreement was signed on

      June 13, 2008, and the parties closed on the deal ten days later, June 23, 2008, for a final price of

      $25.7 million.

             60.       In preparation for the closing, Quiros asked MSSI representatives to open

      brokerage accounts at Raymond James with Burstein, his son-in-law, in the names of the Suites

      Phase I and Hotel Phase II limited partnerships. MSSI representatives agreed, and Stenger

      opened a Suites Phase I account at Raymond James on May 20, 2008. A month later, on June

      20,2008, he opened a Hotel Phase II account at Raymond James.

             61.       Quiros testified under oath in front of the SEC that "Raymond James was a great

      supporter of mine.      They're the ones who developed my banking structure in 2008 . . . .

      [Raymond James] put this structure together for me." Quiros also testified that Raymond James

      put together the margin loans for Quiros to acquire Jay Peale

             62.       As admitted by Burstein in his testimony before the SEC, Burstein and Quiros

      discussed financing the purchase of Jay Peale using a margin loan. Frank Amigo (Burstein's

      supervisor and current Managing Director for Raymond James's South Florida Complex) also



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      participated in that conversation. Quiros, Burstein, and Amigo discussed how the margin loan

      would work-Raymond James would use the investors' funds in the Raymond James accounts,

      collateralize those investors' funds per Quiros' authorization, and give Quiros a loan based on

      the assets available. They also discussed holding investors' funds in the form of Treasury bills

      and the amount of collateral Quiros could utilize with Treasury bills. Raymond James allowed

      Quiros to collateralize 90% of the funds in the Jay Peak Limited Partnerships' accounts at

      Raymond James. Accordingly, Raymond James allowed Quiros to borrow 90% of the investors'

      funds in the Jay Peak Limited Partnership accounts. Raymond James was protected-if Quiros

      did not pay back the margin loan, Raymond James would take the investors' funds in the form of

      Treasury Bills and be made whole.

             63.       On June 16 and 17, 2008, in preparation for closing, MSSI transferred $11 million

      in Suites Phase I investor funds from People's Ban1c to Raymond James. Three days later, on

      June 20, MSSI transferred $7 million in Hotel Phase II investor funds from People's Bank to

      Raymond James.

             64.       In conjunction with those transfers, MSSI representatives on June 18, 2008, wrote

      a letter to Burstein, with copies to Quiros and Stenger, among others, stating that:

                   •   The funds in the MSSI Raymond James Suites Phase I account were investor
                       funds. "These funds were invested by immigrant investors in this limited
                       partnership and must be held and/or used strictly in accordance with the limited
                       partnership agreement, a copy of which I understand has already been provided to
                       you. You confirmed that these funds will not be used in any manner,
                       including as collateral or a guarantee, to finance [Q Resorts, Inc.'s purchase
                       of] the Jay Peak Resort." (emphasis added).

                   •   Any money transferred to the Raymond James Hotel Phase II account similarly
                       consisted of investor funds. "Once again these funds may not be used in any
                       manner, including as collateral or a guarantee, to fund the purchase of the
                       Jay Peak Resort." (emphasis added).




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              65.    Raymond James knew that the monies in the Jay Peak Limited Partnership

      accounts were investors' funds and could not be used by Quiros for Quiros's purchase of Jay

      Peak.

              66.    Despite the fact that MSSI clearly explained to Quiros and Stenger that they could

      not use investor money to purchase Jay Peak, Quiros-aided by transfers made by Stenger and

      by Burstein and Raymond James-did exactly that. Over the next two months Quiros, through

      Q Resorts, used $21.9 million of investor funds-$ 12.4 million from Suites Phase I and $9.5

      million from Hotel Phase II-to fund the vast majority of his purchase of Jay Peak.

              67.    Quiros began his fraudulent use of investor funds on June 17, the day before the

      MSSI letter, when he opened two accounts at Raymond James under his name and control, one

      each for Suites Phase I and Hotel Phase II. On the day of closing, June 23, MSSI transferred the

      $11 million in its Suites Phase I account at Raymond James to Quiros' new Suites Phase I

      account. The same day, MSSI transferred the $7 million in its Hotel Phase II account at

      Raymond James to Quiros' new Hotel Phase II account. MSSI closed the two Raymond James

      accounts within days, leaving Quiros in total control of investor money. Stenger, as the sole

      principal of the Suites Phase I and Hotel Phase II general partners, knew he was supposed to

      control investor funds. Yet he willingly allowed Quiros to take control of the funds, abdicating

      the responsibilities clearly laid out for him in the limited partnership agreements.

              68.    Also on the day of closing, June 23, 2008, Quiros transferred $7.6 million of

      Suites Phase I investor funds from the Suites Phase I Raymond James account and $6 million of

      Hotel Phase II investor funds from the Hotel Phase II Raymond James account to another

      account (previously empty) that he had just opened at Raymond James in the name of Q Resorts.

      He completed his first fraudulent transfer the same day when he wired $ 13.544 million from the



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      Q Resorts account to the law firm representing MSSI as partial payment for the Jay Peak

      purchase.

             69.      Over the next three months, Quiros made four additional payments totaling $5.5

      million from the Q Resorts account to the same law firm as continued payment for the Jay Peak

      purchase. The specific payments were $1.5 million on July 1, 2008, $1 million on August 29,

      2008, $500,000 on September 5, 2008, and $2.5 million on September 26, 2008.

             70.      Quiros made three additional transfers from the Q Resorts account totaling $2.9

      million-$2 million on June 25, 2008, $628,684 on June 26, 2008, and $263,000 on September

      3, 2008-all to the law firm that had represented Q Resorts, Inc. in the purchase.

             71.      Quiros and Q Resorts made all of these payments improperly using investor

      funds. For example, to fund the $2 million payment to Q Resorts' law firm on June 25, 2008,

      Quiros transferred $2 million derived from Suites Phase I investor funds from the Suites Phase I

      Raymond James account to the Q Resorts account, then immediately wired that $2 million to the

      Q Resorts' law firm. The next day he arranged the transfer of just under $300,000 each from the.

      Suites Phase I and Hotel Phase II Raymond James accounts to the Q Resorts account, which he

      used to send $628,684 to the law firm.

             72.       Stenger facilitated many of these payments by transferring additional money to

      the Raymond James accounts. For example, on July 1, 2008, Stenger authorized the transfer of

     . $1 million of Suites Phase I investor funds from a Suites Phase I account at People's Bank to the

      Q Resorts account at Raymond James. The same day he authorized the transfer of $600,000 in

      Hotel Phase II investor funds from the Hotel Phase II account at People's Bank to the Q Resorts

      account.     Quiros turned right around and wired $1.5 million of that money to the law firm

      representing MSSI.




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             73.     Subsequent transactions followed a similar pattem-Stenger transferring Suites

      Phase I or Hotel Phase II money from People's Bank either to the Suites Phase I and Hotel Phase

      II accounts or the Q Resorts account at Raymond James, and Quiros using that money to pay

      either Q Resorts or MSSI's law firm. In addition, to facilitate some of these payments, Quiros

      transferred Phase I and II investor funds between the Suites Phase I and Hotel Phase II accounts

      at Raymond James.

             74.     The limited partnership agreements and the use of proceeds documents for Phases

      I and II, all provided to investors before they invested, prohibited this use of investor funds. For

      example, there was nothing in the use of proceeds document allowing Quiros or Suites Phase I to

      use $12.4 million of Phase I investor money to purchase Jay Peale. Likewise, the Hotel Phase II

      use of proceeds document given to investors, entitled Estimated and Projected Cost of

      Development, showed a detailed brealcdown of how Jay Peak would spend the $75 million it

      raised from investors. There was nothing in this document that allowed Quiros or Hotel Phase II

      to use $9.5 million of Phase II investor funds to buy Jay Peak.

             75.     The use of investor funds to purchase Jay Peale also contravened prohibitions in

      the Phase I and II limited partnership agreements. Each agreement contained a Section 5.02,

      entitled "Limitations on the Authority of the General Partner." That section in each agreement

      prevented the general partner from borrowing or commingling limited partnership funds and

      from making the type of purchase Quiros and Q Resorts made of Jay Peak without proper limited

      partnership consent.

      Raymond James and Burstein Used Limited Partnership Funds as Collateral to Loan
      Money to Quiros.

             76.     Burstein, Raymond James, and Quiros discussed using margin loans on the Jay

      Peak Limited Partnership accounts. Raymond James collateralized the limited partnership funds



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     (in the form of Treasury bills) per Quiros's authorization, and gave Quiros a loan based on the

     assets available. Quiros could collateralize 90% of the Jay Peak Limited Partnerships' funds in

     Treasury bills-meaning, Quiros could borrow 90% of whatever funds were in the Jay Peak

     Limited Partnership accounts. Quiros, Stenger, and Raymond James knew that the funds in the

     Jay Peak Limited Partnership accounts were being used as collateral for the margin loans.

             77.     Quiros and Raymond James' use of margin loans began in June 2008. When

      Quiros opened the Raymond James Suites Phase I and Hotel Phase II accounts, Quiros signed a

      credit agreement with Raymond James to allow both accounts to hold margin balances-

      meaning the accounts could borrow money (which would have to be paid back with interest) and

      hold negative cash balances. Put another way, the accounts went into debt to Raymond James

      when they incurred margin balances.

             78.     The credit agreement Quiros signed pledged amounts in both Suites Phase I and

      Hotel Phase II accounts, as well as all of the assets of the Suites Phase I limited partnership, as ,

      collateral for any margin loans the accounts incurred. As Jay Peak began new offerings, Quiros

      opened new accounts at Raymond James in the name of each new Jay Peak Limited Partnership,

      to which Stenger transferred limited partnership funds from the corresponding account at

      People's Bank where the initial investors deposited their money.

             79.     For example, investors in Penthouse Phase III sent their investments to an escrow

      account at People's Bank in the name of Penthouse Phase III. Stenger had signatory authority

      and control over that account. When the offering began, Quiros opened an account at Raymond

      James in the name of Penthouse Phase III, over which only he had signatory authority and

      control. Once Penthouse Phase III investors had their conditional green c~ds approved, Stenger

      approved the transfer of those investors' $500,000 deposits (i.e., the limited partnership




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     contributions) to the Penthouse Phase III Raymond James account, thereby giving up control

     over that money to Quiros. Each time this happened, Stenger violated terms of the limited

     partnership agreements and caused the Jay Peak General Partners to breach their fiduciary duty

     to the Jay Peak Limited Partnerships. Stenger, as the principal of the general partner in Phases I-

     VI, had ultimate responsibility for the overall management and control of the business assets and

     the affairs of the six limited partnerships, and the obligation to place partnership funds in

     accounts in the names of the partnerships. Stenger abdicated these responsibilities by giving

     Quiros complete control of the partnerships' funds and by placing the funds in accounts to which

     he did not have access.

             80.    The process in Phases II and IV-VII worked the same way. Furthermore, each

     time he opened a new Raymond James account, Quiros signed a new credit agreement pledging

     the assets of that account-in each case comprised of or derived from limited partnership

     funds-as collateral for the margin loans he continued to hold at Raymond James. Quiros signed

      a credit agreement on February 6, 2009, pledging limited partnership funds in the Suites Phase I

      and Hotel Phase II Raymond James accounts as collateral for the margin loans. He signed one

      on October 1, 2010, expanding the list of accounts to Penthouse Phase III and Q Resorts. Quiros

      signed a credit agreement on February 10, 2011, adding the account for Golf and Mountain Phase

     IV. He signed the next one on August 25, 2011, adding the account for Lodge and Townhouses

      Phase V. On February 28, 2012, he signed a credit agreement adding the account for Stateside

      Phase VI as collateral for the margin loans. And on August 5, 20 13, Quiros signed a credit

      agreement adding the accounts for Biomedical Phase VII and another Quiros entity.

             81.    Thus, in every offering, Quiros put limited partnership funds at risk by pledging

      them as collateral for the margin loans. Raymond James could have insisted on payment of the




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     margin loans, and Quiros would have had no choice but to pay them off with limited partnership

     funds slated for use to construct the various projects unless he could come up with a replacement

      source of funding. And, as described below, Quiros eventually paid off the margin loans using

      limited partnership funds.

             82.     Quiros's establishment of the margin loans violated the terms of each of the Jay

     Peak Limited Partnership agreements (which Stenger and/or Jay Peak provided to all investors).

     Those agreements specifically prohibited the projects' general partners from encumbering or

     pledging partnership funds as collateral without the express approval of the investors.

      Furthermore, none of the offering documents the Defendants provided to investors said that any

      of the limited partnerships, general partners, Quiros, Stenger, Q Resorts, or Jay Peak could

     pledge investor funds as collateral for loans. In fact, the use of proceeds document in every

      offering, which set forth exactly how the investors' partnership funds would be spent, did not

     provide for use of such funds as collateral for or to pay off margin loans.

             83.     Quiros began incurring margin loan debt in the Suites Phase I and Hotel Phase II

      accounts almost immediately after closing on the purchase of Jay Peale Raymond James and

      Burstein actively helped Quiros hide the fact that investors' monies were missing from the Jay

      Peak Suites Phase I and Hotel Phase II accounts because Quiros had improperly used investor

      funds to purchase Jay Peak. On June 25, 2008, in an apparent attempt to give the appearance

     that partnership funds remained in the Suites Phase I account at Raymond James, Quiros directed

     the purchase of $11 million in Treasury Bills. That $11 million purchase matched the $11

      million of Suites Phase I funds MSSI had transferred to Quiros' Suites Phase I account. But, by

     this time Quiros had transferred $7.6 million of the $11 million out of the account to pay for the

      purchase of Jay Peak, there were only $3.4 million in partnership funds left in the Suites Phase I




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      account. Therefore, Quiros's Suites Phase I account had to incur a margin loan balance of $7.6

      million to buy Treasury Bills (the difference between the $3.4 million in the account and the full

      $11 million purchase). Under terms of the credit agreement Quiros had signed, that $7.6 million

      was actually a debt to Raymond James. Thus, Suites Phase I did not have a claim to the $11

      million in Treasury Bills, and the $3.4 million in investor funds still in the Suites Phase I account

      was at risk of being forfeited to Raymond James if there was a margin call.

             84.     Quiros undertook the same acts in the Hotel Phase II account at Raymond James

      on the same day. On June 25, 2008, he ordered the purchase of $7 million in Treasury Bills in

      that account. Again, this amount matched the $7 million of Hotel Phase II funds MSSI had

      transferred to Quiros's Hotel Phase II account. But again, Quiros had already transferred $6

      million of that amount out of the account to pay for Q Resorts's purchase of Jay Peale There

      was only $1 million in partnership funds left in the Hotel Phase II account. Therefore, Quiros'

      Hotel Phase II account had to incur a margin loan balance of $6 million to buy Treasury Bills

      (the difference between the $1 million in the account and the $7 million purchase). Under the

      terms of the credit agreement Quiros had signed, that $6 million was actually a debt to Raymond

      James. Hotel Phase II did not have a claim to the full $7 million in Trea$ury Bills, and the $1

      million in partnership funds still in the Hotel Phase II account was at risk of being forfeited to

      Raymond James if there was a margin call.

             85.     Quiros continued to make use of the margin loans in the Suites Phase I and Hotel

      Phase II accounts at Raymond James to pay the remainder of the purchase price for Jay Peak

      between June and September 2008;

             86.     From October 2008 until February 2009, Quiros continued to maintain the margin

      loan balances in his Suites Phase I and Hotel Phase II accounts at Raymond James, with




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     partnership funds pledged as collateral in violation of the Phase I and II use of proceeds

     documents and the limited partnership agreements. By February 2009, the combined margin

      loan balances of the two accounts had reached $23.8 million. Stenger had continued to authorize

     transfers of investor funds from the People's Bank Phase I and II accounts to the Raymond

     James accounts, which then became collateral for the margin loans.

             87.     That month, Quiros consolidated the two margin loans into one (Margin Loan III),

      and signed a new credit agreement that continued to pledge Phase I and II partnership funds to

     back the margin loan balance. Over the next three years, Quiros signed the aforementioned

      credit agreements pledging partnership funds from Phases III-VI as collateral. He also used

      more than $105 million of partnership funds from Phases I-V towards paying down Margin Loan

      III, broken down as follows: approximately $2.2 million from Suites Phase I, approximately

      $51.6 million from Hotel Phase II, approximately $32.5 million from Penthouse Phase III,

      approximately a net amount of $15.8 million from Golf and Mountain Phase IV, and

      approximately $5.6 million from Lodge and Townhouses Phase V.

             88.     Margin Loan III continued to be backed by Suites Phase I and Hotel Phase II

      investor funds, putting them at risk, until February 2012. In addition, during this same time,

      Quiros and Stenger commingled Suites Phase I partnership funds with other projects.        For

      example, on October 3, 2011, Stenger authorized a transfer of $49,000 from the Penthouse Phase

      III account at People's Bank to the People's Bank Suites Phase I account. And on February 23,

      2012, Stenger authorized a transfer of almost $62,000 from the Suites Phase I account to the

      Hotel Phase II account, both at People's Ban1c

             89.     Because Quiros continued spending money from the margin loan account at

      Raymond James, the Margin Loan III balance remained at approximately $23 million in




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      February 2012.   On February 24, 2012, Quiros transferred approximately $22.4 million of

      investor funds from the Q Resorts account at Raymond James to pay off the $23.4 million

      balance. The $22.4 million of investor funds is broken down as follows: approximately $5.8

      million of this amount came from Stateside Phase VI, and approximately $16.6 million of this

      amount came from Lodge and Townhouses Phase V.

             90.    However, just four days after paying off Margin Loan III, on February 28, 2012,

      Quiros opened yet another margin loan account in the name of Jay Peak at Raymond James

      (Margin Loan IV). This time, he signed a credit agreement pledging investor partnership funds

      in accounts from Lodge and Townhouses Phase V and Stateside Phase VI as collateral for the

      margin loan balances. In August 2013, he added the accounts of Jay Construction Management,

      Inc. (an entity controlled by Quiros) and Biomedical Phase VII, and reconfirmed the account of

      Q Resorts to a new credit agreement.

             91.    From February 2012 through March 2014, Quiros used more than $6.5 million of

      partnership funds from Phases V-VI towards paying down the Raymond James Margin Loan IV.

      However, because Quiros spent approximately $25.5 million on the new margin loan account on

      various project-related and non-project expenses, the Margin Loan IV balance was

      approximately $19.4 million in February 2014.

             92.    On April 12, 2013, Quiros transferred $3 million in Biomedical Phase VII

      partnership funds to his wholly owned company, GSI of Dade County, Inc. Six weeks later, on

      May 30, 2013, he used $2.2 million of that money to buy a luxury condominium at Trump Place

      in New Yark City.

             93.    Raymond James then demanded that Quiros pay off Margin Loan IV.                In

      response, on March 5, 2014, Quiros transferred approximately $18.2 million of partnership funds




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      derived from a Biomedical Phase VII account at People's Ban1e, which he used as part of a $19

      million pay off of this margin loan. Quiros took funds from the Biomedical Phase VII account at

      Raymond James and sent them to People's Bank, then People's Bank sent the funds to Quiros's

      Jay Construction account at Raymond James, and Quiros took the money out of the Jay

      Construction account at Raymond James to pay off the margin loan. All told, Quiros essentially

      used the money in the Biomedical Phase VII account that was collateral for the margin loan to

      pay off the margin loan.    The $19 million that went to pay off the margin loan at Raymond

      James did not go to build the Biomedical Phase VII project, as intended. The pay down and pay

      off of this margin loan was a major contributor to the Biomedical Phase VII project's shortfalls.

             94.     The margin loans at Raymond James operated from 2008 to 2014. These margin

      loans were always collateralized by partnership funds in violation of the Jay Peale Limited

      Partnership agreements.

             95.     The funds of each Jay Peak Limited Pattnership were commingled and misused

      for payments on obligations, or for the benefit of, Quiros, Jay Peale, Q Resorts, JCM, GSI, Q

      Burke, Northeast and/or other Jay Peak Limited Partnerships. Therefore, each Jay Peak Limited

      Partnership is a creditor of, and possesses a claim against, Quiros, Jay Peak, Q Resorts, JCM,

      GSI, Q Burke, Northeast and/or another Jay Peak Limited Partnership.

             96.     In mid-2014, Raymond James proceeded to close the Jay Peak Limited

      Partnership accounts.

      Raymond James Knew the Quiros and Jay Peak Transactions Were Extraordinary.

             97.     The high number of transactions in the Jay Peak Limited Partnership accounts at

      Raymond James was out of the ordinary to Burstein and Raymond James.

             98.     In fact, Burstein and Raymond James were concerned about the high volume of




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      wires in one of Quiros' accounts in 2011.              Raymond James's Anti-Money Laundering

      department evaluated the account and vetted it.

             99.     The multiple Jay Peak Limited Partnership accounts being used as collateral for

      one loan was the only time Burstein had cross-margined multiple accounts to collateralize a

      single loan.

              100.   Raymond James and Burstein knew or had reason to know the transfers and

      margin loans orchestrated by Quiros and Stenger violated the terms of the Jay Peak Limited

      Partnership agreements. Raymond James and Burstein were aware or should have been aware of

      the use restrictions governing the partnership funds by virtue of their communications with

      MSSI, account opening documents pertaining to each Jay Peak Limited Partnership account, and

      minimal due diligence regarding the source of the funds transferred and collateralized that would

      have revealed Quiros and Stenger's fraudulent scheme.

              101.   As early as 2012, Raymond James and Burstein were on notice of the emerging

      allegations in the press against Quiros and Stenger regarding misuse of investor funds.      For

      example, in Spring 2012, Douglas Hulme, a former business consultant who worked closely with

      Jay Peak warned immigration attorneys of the suspected misuse of funds and spoke with Peter

      Shumlin's-the Governor of Vermont-administration about his concerns.

      Raymond James and Burstein Were Rewarded for Aiding Quiros and Stenger's Fraud.

              102,   Throughout all relevant times, Raymond James received numerous transfers from

      Quiros, Stenger, and the Receivership Entities, including, but not limited to, interest and fee

      payments, granting of security interests, and deposits into Raymond James accounts and for the

      benefit of Raymond James, These transfers perpetuated the fraud on the Jay Peak Limited

      Partnerships and their respective investors by diverting limited partnership funds and disguising




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      the amounts in their· respective accounts and expenditures therefrom.       When making these

      transfers, Quiros, both personally and on behalf of the Receivership Entities, intended to hinder,

      delay or defraud the Jay Peak Limited Partnerships.

              103.    Raymond James' role in commingling funds it lmewbelonged to investors, and in

      helping Quiros and Stenger embezzle partnership funds, was neither passive nor ministerial.

      Raymond James played an active, instrumental role by (1) allowing Quiros to use funds that

      Raymond James knew Quiros was not supposed to use to buy Jay Peale from MSSI; (2) setting

      up margin loans for Quiros to commingle and steal partnership funds in the Jay Peak Limited

      Partnerships accounts; and (3) giving carte blanche to Quiros to do whatever he wanted with the

      Jay Peak Limited Partnerships' funds, including paying himself and paying off both a $23

      million margin loan and a $19 million margin loan to Raymond James.

              104.    In return, Raymond James and Burstein made substantial profits.         Raymond

      James was paid interest of over $2 million on the margin loans on the Jay Peak Limited

      Partnership accounts. Because Raymond James and Burstein profited from the Jay Peak Limited

      Partnerships accounts, Raymond James and Burstein provided Quiros with substantial services

      and aided and abetted the Jay Peak General Partners' breaches of fiduciary duty to the Jay Peak

      Limited Partnerships.

                                         COUNT I
                      AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
                                      (All Defendants)

              105,    The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

      forth herein,

              106.    The Jay Peak General Partners owed fiduciary duties to their corresponding Jay

      Peale Limited Partnerships.




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             107.     The Jay Peak General Partners breached their fiduciary duties by commingling

     the Jay Peak Limited Partnerships' monies, misappropriating them, and misusing them.

             108.     Through Q Resorts, Inc. and Jay Peak, Inc., Quiros controlled each of the Jay

     Peak General Partners for Phases I to VI. Quiros is also a managing member of the general

     partner of Phase VII.       Quiros, either with knowledge, general awareness, or recklessness

      substantially assisted in these breaches of fiduciary duty.

              109.    Raymond James and Burstein, either with lmowledge, general awareness, or

     recklessness substantially assisted in these breaches of fiduciary duty.

              110,    As a result of the breaches of fiduciary duties, the Jay Peak Limited Partnerships

      suffered damages.

              111.    By reason of the foregoing, the Receiver is entitled to a judgment awarding him

      compensatory damages in an amount to be determined at the trial of this action, together with

      interest at the maximum allowable rate.

             WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

     judgment against Quiros, Burstein, and Raymond James for compensatory damages in an amount

      to be determined at the trial of this action, together with interest at the maximum rate allowable,

      and such other relief this Court deems just and proper.

                                           COUNT II
                            CONSPIRACY TO BREACH FIDUCIARY DUTY
                                        (All Defendants)

              112.    The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

      forth herein.

              113.    Defendants and Stenger are parties to a civil conspiracy.

              114.    Defendants and Stenger conspired to have the Jay Peale General Partners breach




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     their fiduciary duties to the Jay Peak Limited Partnerships by commingling the Jay Peak Limited

     Partnerships' funds, misappropriating them, and misusing them.

               115.   Defendants and Stenger committed overt acts in furtherance of their conspiracy,

     including: (a) Quiros misused investors' funds to purchase Jay Peak; (b) Quiros misused and

     misappropriated limited partnership funds by using them as collateral for loans, to pay off

     margin loans, and by misappropriating them for personal expenses; (c) Raymond James and

     Burstein allowed Quiros to use investor funds to purchase Jay Peak, and (d) Raymond James and

     Burstein provided Quiros with margin loans collateralized by Plaintiffs and investors' funds for

      Quiros to misappropriate and misuse.

               116.   Defendants and Stenger's conspiracy and their respective overt acts caused the

      Jay Peak Limited Partnerships to suffer damages, including but not limited to the loss of limited

     partnership funds in Jay Peak Limited Partnerships.

               WHEREFORE, Plaintiff, as Receiver for the Jay Peale Limited Partnerships, demands

     judgment against Quiros, Burstein, and Raymond James for compensatory damages in an amount

      to be determined at the trial of this action, together with interest at the maximum rate allowable,

      and such other relief this Court deems just and proper.

                                     COUNT III
               FRAUDULENT TRANSFERS PURSUANT TO FLA. STAT. § 726.105(1)(a)
                                  (Raymond James)

               117.   The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

      forth herein.

               118.   Quiros made transfers in the form of interest fee and cost payments from the

      Receivership Entities to Raymond James in furtherance of the fraudulent scheme described

      above.




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             119.    Quiros, both personally and on behalf of the Receivership Entities, made the

     transfers with an intent to hinder, delay or defraud the Jay Peak Limited Partnerships.

             120.    Given Raymond James' role in assisting Quiros and Stenger with the scheme to

     defraud the Jay Peak Limited Partnerships, Raymond James was not acting in good faith at the

     time that it received such transfers. In fact, each transfer accepted by Raymond James served

     only to further the scheme against the Jay Peak Limited Partnerships and created more

     indebtedness for Quiros and the Receivership Entities.

             WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

     judgment against Raymond James declaring all transfers to Raymond James by the Receivership

     Entities and/or Quiros as fraudulent transfers under Florida Statute 726.105(1)(a), avoiding same

     to the extent permitted by law, and such other relief this Court deems just and proper.

                                   COUNT IV
             FRAUDULENT TRANSFERS PURSUANT TO FLA. STAT.§ 726.105(1)(b)
                                (Raymond James)

             121.    The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

     forth herein.

             122~    Quiros made transfers in the form of interest fee and cost payments from the

     Receivership Entities to Raymond James.

             123.    Raymond James did not provide reasonably equivalent value to the Receivership

     Entities in exchange for such transfers. Each transfer accepted by Raymond James served only

     to further the scheme against the Jay Peak Limited Partnerships and created more indebtedness

      for the Receivership Entities.

             124.    When making such transfers, Quiros and the Receivership Entities, through the

      complex series of transfers whereby Quiros siphoned off partnership funds, were engaged or




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     about to engage in a business or transaction for which the remaining assets were unreasonably

     small in relation to the business or transaction and/or intended to incur, or reasonably should

     have believed that they would incur, debts beyond their ability to pay as they became due.

             125.    Given Raymond James' role in assisting Quiros and Stenger with the scheme to

     defraud the Jay Peak Limited Partnerships, Raymond James was not acting good faith at the time

     that it received such transfers. In fact, each transfer accepted by Raymond James served only to

     further the scheme against the Jay Peak Limited Partnerships and created more indebtedness for

     Quiros and the Receivership Entities.

            WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

     judgment against Raymond James declaring all transfers to Raymond James by the Receivership

     Entities as fraudulent transfers under Florida Statute 726.105(1)(b), avoiding same to the extent

     permitted by law, and such other relief this Court deems just and proper.

                                   COUNTY
              FRAUDULENT TRANSFERS PURSUANT TO FLA. STAT.§ 726.106(1)
                                (Raymond James)

             126.    The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

     forth herein.

             127.    Quiros made transfers in the form of interest fee and cost payments from the

     Receivership Entities to Raymond James.

             128.    Raymond James did not provide reasonably equivalent value to the Receivership

     Entities in exchange for such transfers. Each transfer accepted by Raymond James served only

     to further the scheme against the Jay Peak Limited Partnerships and created more indebtedness

     for the Receivership Entities.




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               129.   The Receivership Entities were insolvent at the time of the transfers or became

      insolvent as a result of the transfers because of the underlying fraudulent scheme discussed

      above.

               130.   Given Raymond James' role in assisting Quiros with the scheme to defraud the

      Jay Peak Limited Partnerships, Raymond James was not acting good faith at the time that it

      received such transfers. In fact, each transfer accepted by Raymond James served only to further

      the scheme against the Jay Peak Limited Partnerships and created more indebtedness for the

      Receivership Entities.

               WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

     judgment against Raymond James declaring all transfers to Raymond James by the Receivership

      Entities as fraudulent transfers under Florida Statute 726.106(1), avoiding same to the extent

      permitted by law, and such other relief this Court deems just and proper.

                                         COUNT VI
                         VIOLATION OF RACKETEER INFLUENCED AND
                        CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962(c)
                                       (All Defendants)

               131.   The Receiver re-alleges and incorporates paragraphs 1-104 above as if fully set

      forth herein.

               132.   At all relevant times, Defendants and Stenger were employed by and associated

      with an illegal enterprise, and conducted and participated in that enterprise's affairs, through a

      pattern of racketeering activity consisting of numerous and repeated uses of the interstate mails

      and wire communications to execute a scheme to defraud, all in violation of RICO, 18 U.S.C. §

      1962(c).

               133.   The RICO enterprise, which engaged in, and the activities of which affected,

      interstate and foreign commerce, was comprised of an association in fact of entities and



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     individuals that included Defendants and Stenger.

             134.    The members of the RICO enterprise had a common purpose: to increase and

     maximize their profits by illegally diverting funds that they knew belonged to partnerships for

     improper and unauthorized purposes.         Defendants shared the bounty of their enterprise by

     sharing the illegal profits generated by the joint scheme.

             13 5.   Defe:qdants conducted and participated in the affairs of this RICO enterprise

     through a pattern of racketeering activity that projects into the future, lasted more than one year,

     and that consisted of numerous and repeated violations of federal mail and wire fraud statutes,

     which prohibit the use of any interstate or foreign wire or mail facility for the purpose of

     executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.                   The RICO

     enterprise functioned over a period of years as a continuing unit and maintained an ascertainable

      structure separate and distinct from the pattern of racketeering activity alleged herein.

              136.   Defendants each directed and controlled the enterprise's affairs as alleged in

     paragraphs, including, inter alia:

             a.      Quiros devised the above-described scheme to defraud the Jay Peak Limited

      Partnerships and divert their funds for his own personal gain using the Raymond James accounts;

             b.      Quiros and Stenger lmowingly wired money out of accounts holding limited

     partnership funds for unauthorized purposes and for Quiros's own personal gain;

              c.     Raymond James and Burstein assisted in the diversion and misuse of partnership

      funds, lmowing that these funds belonged to the respective Jay Peak Limited Partnership and not

      to Quiros or Stenger;

              d.     Stenger told the initial investors that their investments in the individual projects

      would yield 2% to 6% annually, !mowing that the funds would be diverted for unauthorized uses




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     and for the benefit of Defendants;

             e.      Raymond James provided margin loans to Quiros which were collateralized with

     assets belonging to the Jay Peak Limited Partnerships;

             f.      Raymond James and Burstein facilitated an intricate web of transfers among

     various accounts at Raymond James to disguise the fact that the majority of the seven projects

     were either over budget or experiencing shortfalls;

             g.      Quiros also improperly used additional investor funds to pay down and pay off

     margin loans (including paying nearly $2.5 million in margin interest) he set up in the name of

     the Jay Peak Limited Partnerships at Raymond James;

             h.      Quiros reviewed the contents of the Phase I-VI offering documents, was familiar

     with them, and understood he had to abide by them. He also approved the use of proceeds

      document in Phases III-VI;

             i.      Raymond James was on notice of the use restrictions surrounding the Jay Peak

     Limited Partnership funds and willfully assisted Quiros' efforts to transfer, misuse, and

      commingle the funds in violation of the partnership agreements; and

             j.      Raymond James, Quiros, and Burstein devised a plan to collateralize investors'

      funds for loans to Quiros.

             13 7,   Defendants used the mails and wires in furtherance of the scheme.       Stenger

     provided materials to investors using the mails and the Defendants wired investor funds among

      various accounts, and for Quiros's personal expenses.

             13 8.   As part of and in furtherance of the scheme to defraud, Defendants made material

      omissions and misrepresentations to the Jay Peak Limited Partnerships and the initial investors

      for each respective limited partnership with the intent to deceive them.




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              139,    Defendants had a duty to correct their misrepresentations and the mistaken

     impressions that arose from their omissions of material fact.        Their misrepresentations and

     omissions were material, as they helped advance their scheme and conceal their fraud, and were

     designed to lull the Jay Peak Limited Partnerships into believing that their investments were

      legitimate. The Jay Peak Limited Partnerships and the investors would have sought to end the

      scheme, prevent the transfer of funds, and recover misused funds had Defendants Quiros,

      Stenger, Burstein, or Raymond James disclosed the true nature of their scheme, or the purposes

      for which the partnership funds would be or were in fact used.

              140.    Because the scheme was not disclosed, and as a result of Defendants' conduct and

     participation in the racketeering activity alleged herein, the Jay Peak Limited Partnerships could

      take no action to avoid the misuse and embezzlement of their funds, causing the Jay Peak

      Limited Partnerships to suffer damages in the form of the loss of their respective funds.

              WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

     judgment against Defendants for compensatory and treble damages, attorneys fees and costs

      under 18 U.S.C. § 1964, and such other relief this Court deems just and proper.

                                      COUNT VII
                CONSPIRACY IN VIOLATION OF RACKETEER INFLUENCED AND
                     CORRUPT ORGANIZATIONS ACT, 18 U.S.C. § 1962(d)
                                    (All Defendants)

              141,    The Receiver re-alleges and incorporates paragraphs 1-1 04 and 131-140 above as

      if fully set forth herein.

              142.    At all relevant times, Defendants and Stenger were associated with the enterprise

      and agreed and conspired to violate 18 U.S.C. § 1962(c). Defendants agreed to conduct and

      participate, directly and indirectly, in the conduct and affairs of the enterprise through a pattern

      of racketeering activity, in violation of 18 U.S.C. § 1962(d).



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               143.   Defendants committed and caused to be committed a series of overt acts in

      furtherance of the conspiracy and to affect the objects thereof, including but not limited to the

      acts set forth above.

               144.   As a result of Defendants' violations of 18 U.S.C. § 1962(d), the Jay Peak

      Limited Partnerships suffered damages in the form of loss of their respective funds.

               WHEREFORE, Plaintiff, as Receiver for the Jay Peak Limited Partnerships, demands

      judgment against Defendants for compensatory and treble damages, attorneys fees and costs

      under 18 U.S.C. § 1964, and such other relief this Court deems just and proper.

                                            DEMAND FOR JURY TRIAL

               Plaintiff requests a jury trial for any and all Counts for which a trial by jury is permitted

      bylaw.

      Dated: May 20, 2016                                            Respectfully submitted,

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